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                    8                               UNITED STATES DISTRICT COURT

                    9                          NORTHERN DISTRICT OF CALIFORNIA

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                   11   FIND THE ORIGIN, INC.,                      Case No. 4:23-cv-01424-YGR

                   12                  Plaintiff,                   [PROPOSED] ORDER GRANTING COOLEY
                                                                    LLP’S MOTION TO WITHDRAW AS
                   13         v.                                    COUNSEL FOR DEFENDANT ORIGIN B.V.

                   14   ORIGIN B.V.,                                Judge: Yvonne Gonzalez Rogers
                                                                    Trial Date: None Set
                   15                  Defendant.                   Complaint Filed: March 27, 2023

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COOLEY LLP
ATTORNEYS AT LAW                                                                    [PROPOSED] ORDER GRANTING
                                                                             COOLEY LLP’S MOTION TO WITHDRAW
                                                                                    CASE NO. 4:23-CV-01424-YGR
                         Case 4:23-cv-01424-YGR Document 32-1 Filed 08/10/23 Page 2 of 2



                    1          Cooley LLP’s Motion to Withdraw as counsel for Defendant Origin B.V. (“Defendant”)
                    2   was considered by the Honorable Yvonne Gonzalez Rogers, Judge of the U.S. District Court for
                    3   the Northern District of California. The Court, having considered all papers and pleadings
                    4   submitted by the parties, and being fully advised, finds that the motion should be granted.
                    5          IT IS THEREFORE ORDERED that Cooley LLP is granted leave to withdraw as counsel
                    6   for the Defendant. The Clerk of the Court is directed to update the Court’s ECF system to reflect
                    7   the withdrawal of Brendan Hughes, Esq. and Brian Focarino, Esq. of Cooley LLP as counsel for
                    8   Defendant.
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                   10          IT IS SO ORDERED.
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                   12   Dated: ____________________________                  ____________________________________
                                                                             The Honorable Yvonne Gonzalez Rogers
                   13                                                        United States District Judge
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COOLEY LLP
ATTORNEYS AT LAW                                                                               [PROPOSED] ORDER GRANTING
                                                                         1              COOLEY LLP’S MOTION TO WITHDRAW
                                                                                               CASE NO. 4:23-CV-01424-YGR
